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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                          §
                                                §                  Case No. 17-35027
H.C. Jeffries Tower Company, Inc.,              §
                                                §                  Chapter 11
Debtor.                                         §
                                                §
In re:                                          §
                                                §                  Case No. 17-35028
Ford Steel, LLC,                                §
                                                §                  Chapter 11
Debtor.                                         §

    Objection by the United States of America to Plans of Reorganization Proposed by
                H.C. Jeffries Tower Company, Inc., and Ford Steel, LLC
                            (Related to Doc. Nos. 114 and 116)

To the Honorable Eduardo V. Rodriguez,
United States Bankruptcy Judge:

         The United States of America (the “United States”), acting on behalf of its Internal

Revenue Service (the “IRS”), objects to both plans of reorganization proposed by Ford Steel, LLC,

and H.C. Jeffries Tower Company, Inc.

                                           Summary

         The Debtors’ cannot meet their burden under 11 U.S.C. §§ 1123 and 1129 because, among

other reasons, the plans are not feasible.    The United States requests that the Court deny

confirmation of both.

         The Debtors’ cases are being jointly administered, but they filed separate plans. This

objection first sets forth the United States’ objections to the plan of Ford Steel, LLC, then its

objections to the plan of H.C. Jeffries Tower Company, Inc.




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              Objection to Confirmation of Plan Proposed by Ford Steel, LLC

Section 1129(a)(2) – Plan Does Not Comply with the Code

       The Ford Steel Plan does not comply with 11 U.S.C. § 503(b)(1)(D). Section 503(b)(1)(D)

excuses governmental units from filing applications under § 503 for the allowance of

administrative tax expenses. Instead of complying with this provision, the Ford Steel Plan [Doc.

No. 116] requires all administrative claimants to file an application. [Doc. No. 116, pp. 6-7]. It is

improper for the Ford Steel Plan to contravene § 503 and attempt to force the United States to file

a § 503 application before receiving payment of taxes incurred after the Petition Date.

Section 1129(a)(3) – Good Faith

       Ford Steel did not propose its Plan in good faith. “A plan is proposed in good faith only

‘[w]here [a] plan is proposed with the legitimate and honest purpose to reorganize and has a

reasonable hope of success.’” In re Star Ambulance Service, LLC, 540 B.R. 251, 262 (S.D. Tex.

2015) (quoting In re Village at Camp Bowe I, L.P., 710 F.3d 239, 247 (5th Cir. 2013)). Courts

should conduct the “good faith” inquiry “in light of the totality of the circumstances surrounding

establishment of [the] plan.” Id.

       The Ford Steel proposes to sell or refinance its real property within one year of

confirmation. [Doc. No. 116, p. 12]. However, Ford Steel has already enjoyed more than a year

to do so, and it has not made any real progress toward doing so. First, Ford Steel has not even

employed a real estate broker, indicating that it is not serious about selling the real property.

Second, although Ford Steel has informed the United States that it has entered into negotiations to

refinance, the proposed refinance would require the IRS to subordinate its lien to a high-interest

loan—something the IRS is not willing to do.




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       Moreover, based on past history, it appears unlikely that Ford Steel can reorganize in a way

that pays the IRS in accordance with 11 U.S.C. § 1129(a)(9) without selling the real property or

obtaining significant new financing. Ford Steel has earned a total $1,047,719.03 in net income

over thirteen months in this case, [Doc. No. 142] (most-recent monthly operating report). This

equates to average monthly net income of $80,593.77. Even if Ford Steel paid 100% of this to the

IRS and did not pay any of its other creditors, it would not be able to pay the amount required to

be paid to the IRS under § 1129(a)(9) within five years of the Petition Date plus pay other creditors.

Ford Steel does not have a reasonable hope of successfully reorganizing.

Section 1129(a)(8) – Acceptance

       The Ford Steel Plan impairs the IRS, and the United States has not accepted it. Ford Steel

cannot satisfy 11 U.S.C. § 1129(a)(8), and it cannot confirm its Plan without cramdown.

Section 1129(a)(9) – Treatment of Pre-Petition Tax Claims

       The Ford Steel Plan does not treat the IRS’s pre-petition claim in accordance with §

1129(a)(9).

       Section 1129(a)(9) requires that payments on account of priority tax claims be made (a) by

“regular installment payments in cash,” (b) “of a total value, as of the effective date . . . , equal to

the allowed amount . . . ,” and (c) within five years from the petition date. This applies to both (a)

claims filed as priority unsecured and (b) secured claims which would be entitled to priority

treatment but-for their secured status. 11 U.S.C. § 1129(a)(9)(D). Additionally, this provision

means that Ford Steel must pay both the principal amount of the priority claim and post-petition

interest. In re Moore, 25 B.R. 131 (Bankr. N.D. Tex. 1982); 11 U.S.C. § 511(b) (interest rate for

the month when a plan is confirmed applies); https://www.irs.gov/newsroom/interest-rates-




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remain-the-same-for-the-fourth-quarter-of-2018 (interest rate for tax claims is 5% during the

fourth quarter of 2018).

        Ford Steel filed bankruptcy on August 21, 2017. The IRS filed a proof of claim that

includes (a) a secured portion in the amount of $4,297,205.09, and (b) a priority unsecured portion

in the amount of $281,071.23. [Claim No. 4-2, Case No. 17-35028]. Of the secured portion,

$4,284,134.47 arises due to FUTA and FICA liabilities and would be entitled to priority treatment

but for its secured status. This leaves a total of $4,565,205.70 that Ford Steel must pay in full—

plus 5% interest—on or before August 21, 2022. 1 The Ford Steel Plan does not do this.

        However, paying the required amount plus interest by August 21, 2022, is not enough—

the plan must provide for “regular installment payments in cash.” See In re Star Ambulance

Service, LLC, 540 B.R. 251, 265-66 (Bankr. S.D. Tex. 2015) (concluding that plan failed to satisfy

§ 1129(a)(9) when it did not set forth regular installment payments in cash). Ford Steel’s plan

does not satisfy this because it purports to reserve the “right” for Ford Steel to withhold payments

if it is unable to make them. [Doc. No. 116, p. 6]. Although it is conditioned on the occurrence

of “an act of nature,” that makes the payments potentially irregular. 2

Section 1129(a)(11) – Likely to be Followed by Liquidation or Further Reorganization

        Ford Steel cannot show that confirmation is not likely to be followed by liquidation or the

need for further reorganization.

        Section 1129(a)(11) provides that the Court should only confirm Ford Steel’s plan if

“confirmation . . . is not likely to be followed by the liquidation, or the need for further financial



1
  The United States calculates that, if Ford Steel were to make regular monthly payments beginning in November
2018, Ford Steel would have to pay $111,467.49 per month to the IRS—something it does not have the cash flow to
do.
2
  This provision references Hurricane Harvey, but it is broadly worded. If a snow storm delays work on a project for
a week, does that count? What about a windy day? It leaves Ford Steel with too much leeway to unilaterally claim
“act of nature.”

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reorganization, of the debtor . . . .” Feasibility does not require “a guarantee of success,” but it

does require “a reasonable assurance of commercial viability.” Matter of Briscoe Enterprises,

Ltd., II, 994 F.2d 1160, 1165-66 (5th Cir. 1993) (quoting In re Lakeside Global II, Ltd., 116 B.R.

499, 507 (Bankr. S.D. Tex. 1989)). Neither “terminal euphoria” nor “visionary schemes” qualify.

See In re Atrium High Point Ltd. Partnership, 189 B.R. 599, 608-09 (Bankr. N.D. Cal. 1995)

(declining to find that plan was feasible). 3 Ford Steel has the burden to show that its plan is feasible

by a preponderance of the evidence. In re Save Our Springs (S.O.S.) Alliance, Inc., 388 B.R. 202,

215-16 (Bankr. W.D. Tex. 2008).

        Ford Steel’s plan is not feasible because, based on income generated during this case, it

cannot afford the plan payments it has proposed. Ford Steel has not employed a broker to sell its

real property, and it does not have refinancing secured. If Ford Steel sells the real property, there

is no indication that Ford Steel has a new location lined up where it will be able to continue

operations. Ford Steel’s plan is not feasible.

Section 1129(b) – Not Fair and Equitable

        Ford Steel may only confirm its plan under cramdown if it proves that its plan “does not

discriminate unfairly, and is fair and equitable . . . .” 11 U.S.C. § 1129(b).

        As to secured creditors, § 1129(b) requires that they retain the lien securing their claim.

Although Ford Steel is proposing to allow some creditors to retain their liens, e.g. [Doc. No. 116,

pp. 9 & 10], Ford Steel’s plan says nothing about the IRS retaining its lien. In order to satisfy §

1129(b)(2)(A), Ford Steel must amend its plan to make clear that the IRS is retaining its lien

encumbering Ford Steel’s assets.




3
 The Fifth Circuit used the phrase “terminal euphoria” in Matter of Little Creek Development Co., 779 F.2d 1068,
1073 (5th Cir. 1986) (quoting Winshall Settlor’s Trust, 758 F.2d 1136, 1137 (6th Cir. 1985)).

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        Moreover, § 1129 provides that, before junior interest holders receive anything under the

plan, unsecured creditors must receive “value, as of the effective date of the plan, equal to the

allowed amount of [their] claim.” 11 U.S.C. § 1129(b)(2)(B). This means that pre-petition equity

interest holders cannot retain their equity unless they pay unsecured creditors in full plus interest.

In re Ambanc La Mesa Ltd. Partnership, 115 F.3d 650, 654 (9th Cir. 1997) (plan violated absolute

priority rule where equity retained interests and unsecured claims were not paid post-petition

interest) (citing In re Perez, 30 F.3d 1209, 1214-15 (9th Cir. 1994)) (cited in In re Seasons

Apartments, Ltd. Partnership, 215 B.R. 953, 959-60 (Bankr. W.D. La. 1997); see In re Introgen

Therapeutics, Inc., 429 B.R. 570, 581 (Bankr. W.D. Tex. 2010) (claim impaired where not paid

post-petition interest).

        Ford Steel proposes to allow equity holders to retain their equity without doing either.

Although Ford Steel proposes that Herbert Jeffries and Steve Bales retain their current equity, (a)

neither is paying “new value,” and (b) Ford Steel is not proposing to pay interest to unsecured

creditors. [Doc. No. 116, p. 15].

Section 1123

        The Ford Steel plan also does not satisfy 11 U.S.C. § 1123 because it does not provide

adequate means for its implementation. There are a number of ambiguous provisions that

significantly increase the risk of future litigation over their meaning.

        First, the definition of “Allowed Amount” potentially creates confusion. [Doc. No. 116,

p. 2]. As written, it requires an order from the Court authorizing claim amounts—disregarding the

process under § 502 whereby a claim us allowed unless and until a party objects. The term only

appears once in the Ford Steel plan, [Doc. No. 116, p. 5, ¶ 19], where it is used to define “Pro Rata

Share.” “Pro Rata Share” does not appear anywhere in the plan after the definition section.



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Although maybe this can be disregarded as superfluous, the United States objects now to avoid the

risk that Ford Steel one day takes the position that its claim is not “allowed” because the United

States did not obtain an order allowing it.

        Second, the Ford Steel plan only allows the IRS to pursue non-bankruptcy remedies if Ford

Steel “substantially defaults,” but it does not say what “substantially” means. [Doc. No. 116, pp.

8 & 12]. Does a missed payment qualify? Does it require two missed payments? If Ford Steel is

making commitments to its creditors under a plan and it fails to keep those commitments, it is in

default of what it promised to do. If Ford Steel defaults and forces the IRS to pursue non-

bankruptcy remedies, the United States should not be left at risk of being dragged into court to

argue what “substantially” means.

        Third, the Ford Steel plan only allows the IRS to pursue “administrative collection”

remedies in the event of “substantial default.” [Doc. No. 116, pp. 8 & 12]. Although this appears

intended to permit the IRS to pursue all remedies under Title 26, it is not clear. The United States

is concerned that Ford Steel may later argue that this language prevents the IRS from recording a

lien or filing suit in United States District Court. The United States objects to this language now

to avoid additional litigation later.

        Fourth, the “effect of confirmation” section of the Ford Steel plan is objectionable. [Doc.

No. 116, p. 19]. It purports to permanently enjoin creditors from “collecting any indebtedness . .

. outside of the confirmed Plan . . . ,” without regard to whether (a) the indebtedness was not

discharged pursuant to 11 U.S.C. § 1141(d)(6), or (b) Ford Steel defaults under the plan. If Ford

Steel is able to confirm a plan, it is entitled to a discharge under the Bankruptcy Code—not an

injunction which goes beyond what § 1141 provides.




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        Fifth, the default section in the Ford Steel plan conflicts with earlier language purporting

to govern defaults. [Doc. No. 116, pp. 19-20]. The section provides that any missed payment

constitutes a “default”—without the earlier “substantial” limitation—and it gives creditors “the

right” to give notice of default to Ford Steel and its counsel. The section does not say that creditors

are required to give notice of default, but it does say that creditors can only file suit after providing

notice. This conflicts with other provisions in the plan related to a default by Ford Steel to the

IRS, leaving ambiguity as to whether the IRS is required to send notice in the event of a default.

        Sixth, the Ford Steel plan says that the automatic stay will remain in effect “until

consummation,” but it does not define “consummation.” [Doc. No. 116, p. 23]. This is another

ambiguity that risks unnecessary future litigation, and the United States objects to it.

        Finally, the Ford Steel plan provides that creditors’ only remedy is to file suit in Texas state

court in the event of default. [Doc. No. 116, p. 20]. Not only does this conflict with the provisions

governing a default in payment to the IRS, the provision would go against 28 U.S.C. § 1331 by

trying to force the United States to file suit in state court. The plan should be clear that, in the

event of any default in payment to the IRS, the United States is permitted to pursue all of its

remedies under Title 26.

    Objection to Confirmation of Plan Proposed by H.C. Jeffries Tower Company, Inc.

Section 1129(a)(2) – Plan Does Not Comply with the Code

        The H.C. Jeffries plan also does not comply with the Bankruptcy Code because it attempts

to require all administrative claims to file an application, contrary to 11 U.S.C. § 503(b)(1)(D).

[Doc. No. 114, p. 6]. This would force the United States to file an application for payment of post-

petition tax liabilities, which is improper.




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Section 1129(a)(3) – Good Faith

        H.C. Jeffries did not propose its plan in good faith. “Good faith” requires a “reasonable

hope of success,” but H.C. Jeffries is not generating enough income to make the plan payments it

proposes. Star Ambulance Service, LLC, 540 B.R. at 262.

Section 1129(a)(8) – Acceptance

        The H.C. Jeffries Plan also impairs the IRS, and the United States has not accepted it. H.C.

Jeffries cannot satisfy 11 U.S.C. § 1129(a)(8), and it cannot confirm its Plan without cramdown.

Section 1129(a)(9) – Treatment of Pre-Petition Tax Claims

        Like the Ford Steel plan, the H.C. Jeffries plan also does not propose to treat the IRS in

accordance with 11 U.S.C. § 1129(a)(9).

        As discussed above, H.C. Jeffries must pay in full, plus interest, within five years of the

petition date both (a) the entire portion of the IRS’s claim which is filed as and entitled to priority

treatment, and (b) the entire portion of the IRS’s claim which is filed as secured but would be

entitled to priority treatment but for the security interest. The IRS’s proof of claim against H.C.

Jeffries includes (a) an unsecured priority portion in the amount of $900,630.77, and (b) a secured

portion in the amount of $777,929.16, all of which is based on unpaid FICA liabilities. H.C.

Jeffries must pay a total of $1,678,559.93 plus 5% interest to the IRS in within five years of the

petition date, but its Plan does not provide for this.

        As also discussed above, the H.C. Jeffries plan must provide for “regular installment

payments in cash.” Like the Ford Steel plan, the H.C. Jeffries plan does not satisfy this because it

purports to give H.C. Jeffries the unilateral ability to suspend payments. [Doc. No. 114, p. 6].




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Section 1129(a)(11) – Likely to be Followed by Liquidation or Further Reorganization

        The United States also objects to H.C. Jeffries’s plan on the grounds of feasibility. H.C.

Jeffries has the burden to prove that its plan is feasible, but it is not clear that H.C. Jeffries can do

so.

        Section 1129(a)(11) provides that the Court should only confirm H.C. Jeffries’s plan if

“confirmation . . . is not likely to be followed by the liquidation, or the need for further financial

reorganization, of the debtor . . . .” Feasibility does not require “a guarantee of success,” but it

does require “a reasonable assurance of commercial viability.” Matter of Briscoe Enterprises,

Ltd., II, 994 F.2d 1160, 1165-66 (5th Cir. 1993) (quoting In re Lakeside Global II, Ltd., 116 B.R.

499, 507 (Bankr. S.D. Tex. 1989)). Neither “terminal euphoria” nor “visionary schemes” qualify.

See In re Atrium High Point Ltd. Partnership, 189 B.R. 599, 608-09 (Bankr. N.D. Cal. 1995)

(declining to find that plan was feasible). H.C. Jeffries has the burden to show that its plan is

feasible by a preponderance of the evidence. In re Save Our Springs (S.O.S.) Alliance, Inc., 388

B.R. 202, 215-16 (Bankr. W.D. Tex. 2008).

        H.C. Jeffries has generated average net monthly income of $31,207.14 during this case.

[Doc. No. 141] (most-recent monthly operating report) ($436,900.01 in total net income divided

by 13 months). The United States calculates that H.C. Jeffries would have to pay $40,984.98 per

month to the IRS to pay its claim in accordance with § 1129(a)(9), assuming H.C. Jeffries began

payments in November, 2018. H.C. Jeffries is not generating enough net income to pay the IRS

alone, much less its other creditors. Moreover, it is unclear whether H.C. Jeffries will be able to

operate at all if Ford Steel cannot confirm its plan and the real property—owned by Ford Steel but

used by both Debtors—is sold by a chapter 7 trustee.




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Section 1129(b) – Not Fair and Equitable

       H.C. Jeffries may only confirm a plan under cramdown if it satisfies 11 U.S.C. § 1129(b).

This requires H.C. Jeffries to show that its plan is “fair and equitable.”

       As discussed above, “fair and equitable” means that (a) secured creditors must retain liens,

and (b) the plan must comply with the “absolute priority rule” as to general unsecured creditors.

Similar to the Ford Steel plan, the H.C. Jeffries plan fails as to the IRS’s secured claim because it

does not state that the IRS is retaining its lien against the assets of H.C. Jeffries, even though it

says that other creditors are retaining their liens. [Doc. No. 114, pp. 8, 9, 10-11].

       The H.C. Jeffries plan is also not fair and equitable as to unsecured creditors. The H.C.

Jeffries plan proposes to allow Herbert Jeffries to retain 100% of his equity in H.C. Jeffries, even

though H.C. Jeffries is not paying interest on unsecured claims.

Section 1123

       The H.C. Jeffries plan also contains too many ambiguous provisions to provide adequate

means for implementation and satisfy 11 U.S.C. § 1123.

       First, unlike the Ford Steel plan, the H.C. Jeffries contains no general default provision

governing what occurs in the event that H.C. Jeffries misses a payment under the plan. H.C.

Jeffries’s plan should contain some provision setting forth the process for a creditor to pursue its

non-bankruptcy remedies. The absence of a provision increases the possibility that H.C. Jeffries

and/or its creditors will have to come back to this Court for a determination of their rights.

       Second, the definition of “Allowed Amount” potentially creates confusion. [Doc. No. 114,

p. 2]. As written, it requires an order from the Court authorizing claim amounts—disregarding the

process under § 502 whereby a claim us allowed unless and until a party objects. The term only

appears once in the Ford Steel plan, [Doc. No. 114, p. 5, ¶ 19], where it is used to define “Pro Rata



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Share.” “Pro Rata Share” does not appear anywhere in the plan after the definition section.

Although maybe this can be disregarded as superfluous language, the United States objects now

to avoid the risk that H.C. Jeffries one day takes the position that its claim is not “allowed” because

the United States did not obtain an order allowing it.

        Second, the H.C. Jeffries plan only allows the IRS to pursue non-bankruptcy remedies if

Ford Steel “substantially defaults,” but it does not say what “substantially” means. [Doc. No. 114,

pp. 7 & 11]. Like the Ford Steel plan, the failure of H.C. Jeffries to define “substantially” risks

H.C. Jeffries defaulting, forcing the IRS to pursue non-bankruptcy remedies, then dragging the

IRS back into litigation over the meaning of this provision.

        Fourth, the H.C. Jeffries plan only allows the IRS to pursue “administrative collection”

remedies in the event of “substantial default.” [Doc. No. 116, pp. 8 & 11]. Although this appears

intended to permit the IRS to pursue all remedies under Title 26, it is not clear. The United States

is concerned that H.C. Jeffries may later argue that this language prevents the IRS from recording

a lien or filing suit in United States District Court.

        Fifth, the United States objects to the “effect of confirmation” section of the H.C. Jeffries

plan. [Doc. No. 114, p. 16]. It purports to permanently enjoin creditors from “collecting any

indebtedness . . . outside of the confirmed Plan . . . ,” without regard to whether (a) the indebtedness

was not discharged pursuant to 11 U.S.C. § 1141(d)(6), or (b) H.C. Jeffries defaults under the plan.

The H.C. Jeffries plan—if confirmed—should be limited to granting H.C. Jeffries a discharge

under the Bankruptcy Code.

        Sixth, the H.C. Jeffries plan says that the automatic stay will remain in effect “until

consummation,” but it does not define “consummation.” [Doc. No. 114, p. 19]. This is another

ambiguity that risks unnecessary future litigation, and the United States objects to it.



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        Accordingly, the United States requests that the Court deny confirmation of the plans

proposed by Ford Steel and H.C. Jeffries Tower Company and grant the United States such other

and further relief as is equitable and just.

        Dated: October 2, 2018.

                                                      Respectfully submitted,

                                                      RYAN K. PATRICK,
                                                      United States Attorney

                                               By:     s/ Richard A. Kincheloe
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                                        Certificate of Service

      The undersigned certifies that he served the foregoing Objection on the parties receiving
ECF notice in this case on October 2, 2018, through the Court’s ECF notification system.

                                                      s/ Richard A. Kincheloe
                                                      Richard A. Kincheloe
                                                      Assistant United States Attorney




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